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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Newport News Division
JOANN WRIGHT HAYSBERT,
Plaintiff,
Vv. CASE NO. 4:20cv121

BLOOMIN’ BRANDS, INC.,
and
OUTBACK STEAKHOUSE OF
FLORIDA, LLC,
Defendants.
OPINION

Pending before the court on the fifth day of trial in the
above-mentioned case were three (3) motions brought by Defendants:
(1) an oral Motion to Quash a Witness Subpoena (“Motion to Quash”);

(2) an oral Motion to Revoke Plaintiff’s Counsel, Nazareth

Haysbert’s (“Mr. Haysbert”), Pro Hac Vice Status; and (3) an oral

Motion for Mistrial, all of which were brought to the court’s
attention during trial on Friday, August 11, 2023. See ECF No.
307. The motions were taken under advisement, and the parties were
ordered to submit briefs to the court containing their arguments

and/or responses by 3:00 P.M. on Sunday, August 13, 2023.!

1 Also pending was Defendants’ Motion to Strike Dr. Filler’s
testimony on the basis of admissibility, and Plaintiff’s Motion to
Admit Work Orders as Subsequent Remedial Measures over Defendants’
objections. Although these matters were briefed, see ECF Nos. 294,
300, 301, 303, the court did not make any rulings on these issues,
and, consequently, these matters are not resolved further herein.
See infra Part IV.
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After receiving the parties’ briefs, see ECF No. 296
(Plaintiff’s Opposition to Defendants’ Motion for Mistrial); ECF
No. 297 (Declaration of Nazareth M. Haysbert Regarding Service of
a Trial Subpoena on Marcus Wilson); ECF No. 298 (Defendants’ Trial
Brief as to Defendants’ Motion for Mistrial); ECF No. 299
(Defendants’ written Objection and Motion to Quash a Witness
Subpoena, served on Marcus Wilson); ECF No. 302 (Defendants’ Trial

Brief as to Motion to Revoke Pro Hac Vice Status), the court

advised the jurors, through the jury clerk’s automated call system,
not to report to the courthouse on August 14, 2023, which then
allowed for the court to address the pending motions that needed
to be resolved before continuing with the trial. The court
addressed each motion in turn, thereby providing the parties with
an opportunity to orally present their arguments and any responses,
and issued its rulings from the bench. Ultimately, the Motion to
Quash was GRANTED, the Motion to Revoke Mr. Haysbert’s Pro Hac
Vice Status was GRANTED, and the Motion for Mistrial was GRANTED.
ECF No. 308. Therefore, the purpose of this Opinion is to

memorialize the court’s rulings in writing.?

2 At the hearing on Monday, August 14, 2023, the court
specifically indicated that a written opinion would follow
regarding its oral rulings.
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I. MOTION TO QUASH

The first motion the court addressed at the August 14, 2023,
hearing was the Motion to Quash. See ECF No. 299. On August 11,
2023, Mr. Haysbert represented to the court that Marcus Wilson had
been served that day with a subpoena commanding that he appear in
court as a witness on August 11, 2023, and August 14, 2023. See
ECF No. 297 at 17. Records provided to the court demonstrated that
Marcus Wilson had not been served by the process server until 5:25
P.M. on August 11, 2023, outside of the court’s normal business
hours, and certainly not timely as set forth below. Id. at 14.

The court spent a considerable amount of time, both on August
11, 2023, and on August 14, 2023, seeking to understand why the
subpoena was served so late in the proceedings, especially
considering that the revised trial date was known to all counsel
for the parties on March 1, 2023, there had been identical subpoena
issues earlier in the week, and Plaintiff deemed Marcus Wilson to
be a critical witness. As the record reflects, the court concluded
that Plaintiff failed to demonstrate good cause for the late
issuance of the subpoena for Marcus Wilson, and GRANTED the Motion
to Quash because the subpoena was untimely. See E.D. Va. Civ. R.
45(E) (“Except as otherwise ordered by the [c]ourt for good cause
shown, subpoenas for attendance of witnesses at hearings or trials
in civil actions shall be served not later than fourteen (14) days

before the date of the hearing or trial.”).
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II. MOTION TO REVOKE MR. HAYSBERT’S PRO HAC VICE STATUS

Next the court addressed the Motion to Revoke the Pro Hac
Vice Status of Plaintiff’s Counsel. The decision to revoke an

attorney’s pro hac vice status is within the discretion of the

trial court. Al Procurement, LLC v. Thermcor, Inc., No. 2:15cvl15,

2015 WL 13733927, at *3 (E.D. Va. Nov. 18, 2015) (Leonard, J.),

report and recommendation adopted in part, No. 2:15cv15, 2016 WL

184397 (E.D. Va. Jan. 15, 2016) (Smith, J.); see E.D. Va. Civ. R.
83.1(E) (2) (providing that the court may admit an attorney pro hac
vice and explaining that any such attorney is “subject to the Local
Rules of the United States District Court for the Eastern District
of Virginia and the Federal Rules of Disciplinary Enforcement”);

Belue v. Leventhal, 640 F.3d 567, 577-78 (4th Cir. 2011)

(indicating that an attorney’s pro hac vice status may be revoked

after the attorney receives adequate due process); Thomas v.
Cassidy, 249 F.2d 91, 92 (4th Cir. 1957 (explaining that permission

to appear pro hac vice “is not a right but a privilege”). “Specific

grounds for revocation can include unprofessional conduct,
violation of the local rules, and a wide variety of ethics
violations,” as well as “an attorney’s impact on judicial economy.”

Al Procurement, LLC, 2015 WL 13733927, at *4. “[E]ven if there is

not one bold ground to revoke an attorney's pro hac vice admission,

the [c]ourt has the discretion to revoke an attorney's pro hac

vice status based on the combined effect of an attorney's
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misconduct and disregard for the Local Rules, so long as the
attorney is provided due process.” Id.
Although “the amount of process required is hardly onerous,”

a pro hac vice attorney “must receive notice of the specific

grounds for revocation and a meaningful opportunity to respond.”
Belue, 640 F.3d at 577. Briefs were filed on August 13, 2023, as
directed by the court on August 11, 2023.3 Then, at the August 14,
2023, hearing, Defendants first presented their arguments as to

why Mr. Haysbert’s pro hac vice status should be revoked, to which

Mr. Haysbert responded. Then, the court presented its own reasons

for why it was considering revoking Mr. Haysbert’s pro hac vice

status, to which Mr. Haysbert again had an opportunity to respond.

The court considered both parties’ positions, and ultimately
found that the cumulative effect of Mr. Haysbert’s unprofessional
conduct, which included violations of the federal rules, local
rules, and court rulings, and his impact on judicial economy,

warranted the revocation of his pro hac vice status. Below the

court lists several examples of Mr. Haysbert’s conduct supporting
its decision, all of which were addressed at the August 14, 2023,

hearing and are part of the case record of the proceedings.

3 See supra at 1-2.
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e Unprofessional Conduct:

o Slamming papers and making outbursts on two (2)
occasions in front of the jury.

o Issuing a subpoena to his own expert, Dr. Haider, who
is located more than one hundred (100) miles from the
courthouse, even when Mr. Haysbert knew the subpoena
was unenforceable. Mr. Haysbert indicated to the court
that he still issued a subpoena to Dr. Haider because,
as a non-attorney, she was not familiar with the legal
process, and he thought it might encourage and put
pressure on her to come to trial.

o Badgering witnesses through repetitive and combative
questioning techniques.

o Misstating Federal Rule of Evidence 407 (“Rule 407”)
to the court to support admission of a contested work
order exhibit, and also implying that the court itself
was violating the Federal Rules of Evidence, if the
exhibit was not admitted.

o Attempting to quickly publish an exhibit (i.e., a work
order) to the jury, which had outstanding objections
to it and on which the court previously reserved its
ruling, and claiming the exhibit was being used for

impeachment purposes, even though the seemingly real
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purpose was to prove negligence, culpable conduct, or
a defect, in violation of Rule 407.

o Purposely misleading the jury (e.g., implying that
witness statements were inconsistent when they were
not, including by misrepresenting Christopher
Robinson’s and Alicia Eleftherion’s (“Ms.
Eleftherion”) testimony; suggesting that the
restaurant had a camera that could have captured
Plaintiff’s fall when the camera was only positioned
to capture the front entrance/host stand area; and
repeating that a work order was “authentic” in front
of the jury, even though its admissibility was still
under advisement).

o Making conflicting representations and
misrepresentations to the court (e.g., telling the
court that he reached out to his service processing
company at approximately 6:00 A.M. when emails
confirmed that such contact was not made until 9:00
A.M. on August 11, 2023, ECF No. 297 at 1; and stating
that he was a term law clerk to a district court judge
when he served as a judicial intern).

o Speaking over the court, opposing counsel, and
witnesses on multiple occasions, even after being

warned and reprimanded for this conduct.
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o Accusing the court of attempting to “catch” him in
something when the court was simply and constantly
trying to enforce the federal and local rules of the

court to ensure a fair trial.

e Violations of Rules and Rulings:

o Intentionally eliciting hearsay testimony and
testimony regarding risk management/insurance on
multiple occasions, even after the court explained
that this was a violation of rules and case law.

o Failing to understand and/or follow the Federal Rules
of Evidence and related court rulings/instructions
(e.g., attempting to admit a brain animation into
evidence when no foundation had been laid and
outstanding objections had not been ruled upon by the
court; and declaring two (2) witnesses, Norman “Chip”
Chase and Nick Siefert, as adverse in front of the
jury before the witness began to testify, and after
the court had instructed that this pronouncement by
counsel during Ms. Eleftherion’s testimony was
improper and not pursuant to the Federal Rules of
Evidence and the law).

o Failing to issue subpoenas to multiple witnesses at
least two (2) weeks in advance of trial, in violation
of Local Civil Rule 45(E).

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o Failing to properly and timely redact Dr. Filler’s
PowerPoint exhibit and provide it to the court and
counsel in advance of trial, even though Mr. Haysbert
had been ordered by the court to do so at the
Supplemental Final Pretrial Conference on
August 1, 2023.

o Swiftly publishing Dr. Filler’s PowerPoint exhibit to
the jury, knowing it had prejudicial headers and
outstanding objections not yet addressed by the court
and not in compliance with the court’s redaction
order.

o Failing to lay proper foundations and improperly
impeaching witnesses on multiple occasions, despite
court rulings and explanations to the contrary. The
court repeatedly had to instruct on the process for
using deposition testimony to impeach or refresh the
recollection of witnesses, and the difference between
the two processes, which also delayed the trial
proceedings.

e Negative Impact on Judicial Economy:
o Failing to come prepared as required with paper copies

of necessary documents, including at the Supplemental
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Final Pretrial Conference on August 1, 2023,4 and
during trial itself, which led to two (2) trial delays
of at least, or more than, forty-five (45) minutes
each.

o Filing last-minute motions and other filings,
including witness subpoenas and a motion to have Dr.
Haider testify remotely by Zoom, see ECF Nos. 274,
275 (filed at 10:01 P.M. the Sunday before trial) .°

© Scheduling a delivery for August 8, 2023, the morning
the trial was to start, to Defendants at their

counsel’s Fairfax, Virginia office, which delivery

4 For the August 1, 2023, Supplemental Final Pretrial
Conference, counsel arrived at the court with all documents on
computers contrary to specific instructions and requirements of
the court. He had not even submitted an electronic device
authorization form for this purpose, which is required and
available on the court’s website.

5 Pursuant to the court’s website, parties requesting remote
participation of outside parties in court proceedings “must attain
written authorization from the trial judge two business weeks in
advance prior to using the [c]Jourt’s video conference system.”
United States District Court, Eastern District of Virginia,
Evidence Presentation System, https://www.vaed.uscourts.gov/
evidence-presentation-system. Moreover, Rule 43 of the Federal
Rules of Civil Procedure requires that witness testimony “be taken
in open court unless a federal statute, the Federal Rules of
Evidence, these rules, or other rules. adopted by the Supreme Court
provide otherwise.” The motion to have Dr. Haider testify by Zoom
was apparently first mentioned on Friday, August 4, 2023, at a
settlement conference before Magistrate Judge Douglas E. Miller,
but it was not brought before the undersigned trial judge until
Sunday, August 6, 2023, in the 10:01 P.M. filing.

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contained Plaintiff’s updated final trial exhibit
binder. Mr. Haysbert represented otherwise to the
court, despite the Federal Express receipt and
tracking record to the contrary, see ECF No. 313-2
(Court Exhibits 1 and 2 from August 8, 2023), thereby
causing delay to the proceedings to sort out the
matter, as well as to defense counsel who were delayed
in their review of Plaintiff’s updated exhibits.®

o Making improper and/or frivolous objections = on
multiple occasions, including his claim that a
question was compound when it simply was not.

o Repeating questions that had already been asked and
answered on multiple occasions. The repetitions were
so numerous that defense counsel and the court stopped
raising the objection, just to keep the trial moving
forward, as trial had only been scheduled to last for
three (3) to four (4) days.’

In sum, the court GRANTED Defendants’ Motion to Revoke Mr.

Haysbert’s Pro Hac Vice Status based on the combined effect of Mr.

Haysbert’s misconduct, rules violations, and impact on judicial

6 The court also notes that defense counsel’s law firm then
had to ship the package containing the updated exhibits from
Fairfax to Norfolk on the day that trial was scheduled to start.

7 See infra note 19 and accompanying text.

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economy, which is clearly illustrated by the concerns listed in
this Opinion, the record, and addressed from the bench on August

14, 2023. See, e.g., Al Procurement, LLC, 2015 WL 13733927, at *4.

III. MOTION FOR MISTRIAL
Lastly, the court addressed Defendants’ Motion for Mistrial.
As the court stated at the August 14, 2023, hearing, the court
recognizes that declaring a mistrial is an extreme measure. That
being said, “because the trial judge can best evaluate the
atmosphere of the trial and the possibility of prejudice,” it is
within the court’s discretion to determine whether an error ina

case can be cured by a cautionary instruction. Riddle v. Exxon

Transp. Co., 563 F.2d 1103, 1108-09 (4th Cir. 1997). Unless the

exercise of such discretion is clearly erroneous, the decision of

the trial judge will not be disturbed. Bright v. Coastal Lumber

Co., 962 F.2d 365, 370 (4th Cir. 1992) (internal citation and
quotation marks omitted). In short, the court is of the belief
that this case has become completely infected by the cumulation of
misrepresentations, rules violations, “red herrings,” and other
misconduct by Plaintiff’s counsel, and, the prejudice that
presently exists cannot be cured by a cautionary instruction.
A.

First, the court turns to the repeated, and intentional,

injections by Mr. Haysbert of insurance/risk management and an

improper standard of care in this negligence suit. “‘The rule in

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Virginia is that in an action to recover damages for personal
injuries, the admission of evidence or argument of counsel

deliberately injected into a case to inform the jury that a

fw

defendant is insured against the accident is reversible error.

ECF No. 298 at 1 (quoting Hope Windows, Inc. v. Snyder, 208 Va.

489, 493 (1968)) (emphasis added). Moreover, “a court is required
to grant a new trial, if requested, when the prejudicial effect of
an improper remark or question is overwhelming, such that it cannot

be cured by a cautionary instruction.” Lowe v. Cunningham, 268 Va.

268, 273 (2004) (internal citation omitted). That is because “a
mistrial . . . should be ordered . . . [when] there has been

interference with a fair trial.” Riner v. Commonwealth, 268 Va.

296, 315-16 (2004) .8

This issue first arose during Ms. Eleftherion’s testimony on
August 11, 2021, where Plaintiff used the word “ensure” in a
question even after an objection had been sustained. The relevant

testimony, Tr. at 8-9,? is as follows:

8 The parties agree that Virginia law applies in this case,
meaning that Virginia case law addressing a party’s injection of
insurance into a negligence suit governs the court’s analysis of
this issue.

9 The page numbers cited by the court in this portion of the
Opinion correspond to the page numbers of the transcript of Ms.
Eleftherion’s testimony, which was provided by the court reporter
to counsel, at counsel’s request. These page numbers will likely
change when the full trial transcript is filed by the court
reporter.

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Plaintiff’s Counsel: Okay. You were to ensure there was
no grease, cleaning solution, water, soda, Coke left on
the floors unattended in the dining room, correct?

Defendants’ Counsel: Objection, Your Honor. The use of
the term “ensure.” There is no -- the law does not
require --

Plaintiff’s Counsel: Oversee. Oversee. I was saying
oversee.

Defendants’ Counsel: May I just --
Plaintiff’s Counsel: Sure. Of course.

Defendants’ Counsel: Thank you. I object to the use of
“ensure.” It’s not the law (emphasis added).

Court: Rephrase your question, please (emphasis added).

Plaintiff’s Counsel: Will do, Your Honor (emphasis
added). It’s your responsibility [] to make sure that
wet floor signs were put out when needed, correct?

Witness: Yes. I had direct oversight of all those things.

Plaintiff’s Counsel: And your job was to ensure that
mats were put down when needed, correct (emphasis
added) ?

Court: Do not use the word “ensure” (emphasis added).

Plaintiff’s Counsel: I will never use the word “ensure”
again (emphasis added) .1°

Then, only but a minute later, Mr. Haysbert’s line of
questioning to the same witness led directly to testimony regarding

insurance, Tr. at 10-11:3!

10 The court emphasizes this exchange to highlight the
intentional injection of the insurance issue again in this case.
See infra note 12 and accompanying text.

11 See supra note 9 and accompanying text.

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Plaintiff’s Counsel: So would part of that overseeing
responsibility include following up [on] an injured
person who had slipped and fallen on the floors?

Witness: It was not, no.
Plaintiff’s Counsel: I’m sorry?

Witness: No, that was not part of my responsibilities at
the time.

Plaintiff’s Counsel: Whose responsibility was it at the
time that you were the manager of the Outback Steakhouse
in Chesapeake to follow up with an injured person who
had slipped and fallen?

Witness: Correct. If our insurance provider at that time
was involved, we had an insurance liaison who would
follow up with that person.

Defendants’ Counsel: Objection, Your Honor.
Court: Sustained.

Plaintiff’s Counsel: It’s only been said. I don’t have
a question pending.

Court: Insurance is not an issue at all in this case.

Plaintiff’s Counsel: So I'm only asking you what you
would do in your personal knowledge. Okay. So let's leave
insurance out of it. And although insurance [is] within
your personal knowledge, we are leaving insurance out of
it (emphasis added) .}!4

12 The court emphasizes this statement, where Mr. Haysbert
uttered “insurance” three (3) times before the jury, after the
court had sustained the objection, and after he knew, or should
have known, from discovery and the law, as well as from the court’s
previous ruling on the issue of “ensure,” that the question would
likely result in a problematic response. Moreover, the court found
this statement to be particularly harmful and intentional given
that Mr. Haysbert included that insurance was within Ms.
Eleftherion’s personal knowledge, but “we are leaving insurance
out of it.” See Tr. at ll.

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Court: Mr. Haysbert, please, follow the court’s rulings.

Plaintiff’s Counsel: Yes, ma’am.

Defendants’ Counsel: Your Honor, I have a motion.

The court then excused Ms. Eleftherion and the jurors to
discuss the oral Motion for Mistrial and spent a considerable
amount of time explaining to Mr. Haysbert the issue with his
injecting insurance and an improper standard of care into the
case.!3 However, once the court returned from recess, Mr. Haysbert
posed a nearly identical question to Ms. Eleftherion which,
unsurprisingly, led to a nearly identical response, Tr. at 36-37:1%

Plaintiff's Counsel: Okay. If a person was injured in

the dining room through a slip and fall, whose

responsibility is it to follow up with that person at

Chesapeake Outback Steakhouse, at the Chesapeake Outback

Steakhouse, if anyone?

Defendants’ Counsel: Objection, Your Honor. Object to
the form, relevance (emphasis added).

Court: Let’s see. I hope this doesn’t go astray (emphasis
added).

Plaintiff’s Counsel: It won’t. I promise you (emphasis
added).

Witness: There is protocol to follow, any type of
incident, whether it's slip and fall or different
incident regarding to a guest or somebody who works
there, we have to call that into our insurance group
(emphasis added).

Defendants’ Counsel: Objection, Your Honor.

13 See supra note 12 and accompanying text.

14 See supra note 9 and accompanying text.

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Court: You'd asked that question before, and that's the

answer you got. There has been an objection to it, and

the court specifically said there is no insurance in

this case, should be no mention of it and no insurance

issue. That's the question you asked before that got the
me same answer.

Plaintiff’s Counsel: I said at the Chesapeake Outback
Steakhouse, is what I said.

Court: Whatever. It elicited it. It is along the same
lines, and it has now elicited the same response.

Defendants’ Counsel: Your Honor, I renew the motion I
previously made.

Court: I completely strike that question and that answer
at this juncture because it's not part of the case. It's
improper under the law for it to even be mentioned. I
thought you heard that, too, but you didn’t as a witness
hear that?

Witness: Yes, ma’am. I heard you.}>

Plaintiff’s Counsel: If I [may] move on. Thank you, Your
Honor, and thank you, M[s]. Eleftherion.

Then, when Norman “Chip” Chase took the stand as a witness
later in the day, Mr. Haysbert again asked a question that he knew,
or should have known, would have injected insurance into the case,

Tr. at 6-7;16

iS The court recognizes that a lay witness, such as Ms.
Eleftherion, takes her responsibility seriously to answer the
questions truthfully under oath. Mr. Haysbert should never have
asked this question again knowing the answer and with the
outstanding objections and warnings from the court. This is yet
another example of repeated questions in basically the same form,
as he did with many of the witnesses.

16 The page numbers cited by the court in this portion of the
Opinion correspond to the page numbers of the transcript of Mr.
Chase’s testimony, which was provided by the court reporter to the

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Plaintiff’s Counsel: Mr. Chase, what were you
responsible for as the number one person and managing
partner at the Chesapeake Outback during your tenure?

Witness: Operations of the front and back of the house,
staffing, confirming scheduling, hiring, maintaining the

facility.

Plaintiff’s Counsel: And that would include restaurant
safety, correct?

Witness: Yes.

Plaintiff’s Counsel: That would also include overseeing
guest liability, correct?

Defendants’ Counsel: Objection, Your Honor.
Plaintiff’s Counsel: When I say that I mean --
Defendants’ Counsel: Excuse me. I must object. We are

going down the same road that I had previously brought
up regarding guest liability. I object (emphasis added).

Plaintiff’s Counsel: I withdraw the question (emphasis
added) .??

Given the repetitive nature of these lines of questioning
which Mr. Haysbert knew, or at least should have known based on
depositions and discovery in this case, see ECF Nos. 298-1,
298-2, 298-3, 298-4, would inevitably lead to responses relating
to Defendants’ risk management/insurance, the court found this to

be a deliberate injection of insurance into the case. See

court, at the court’s request. These page numbers will likely
change when the full trial transcript is filed by the court
reporter.

17 See supra note 15 and accompanying text.

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Hope Windows, Inc., 208 Va. at 493. Therefore, it is the court’s

opinion that this issue alone is grounds for a mistrial.
B.
However, the above ground is not the only concern of prejudice
before the court. Again, the court underscores the cumulation of
misconduct that has occurred and recognizes its duty to look at

the proceedings as a whole. See Riddle, 563 F.2d at 1108-09.

Without repeating the many reasons that supported granting the

Motion to Revoke Mr. Haysbert’s Pro Hac Vice Status, see

supra Part II, many of these reasons also support declaring a
mistrial, and the court incorporates those reasons herein. Reasons

include, inter alia, Mr. Haysbert's failure to follow the rules

and the rulings of the court, his outbursts before the jury, his
intentional lines of questioning that injected insurance into the
case, his backdoor attempts to introduce evidence that was not yet
admitted or ruled upon (including the work orders and brain
animation), his blatant mischaracterization of witness testimony,
and his improper impeachments, all of which have, no doubt, had a
prejudicial effect on the jury and cannot be cured by any type of
curative instruction. In the court’s opinion, the whole atmosphere
of this trial had become infected.

Moreover, in the court’s opinion, allowing Plaintiff’s local
counsel, David Adam McKelvey (“Mr. McKelvey”), to proceed without

Mr. Haysbert at this juncture would be extremely prejudicial to

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Plaintiff. Mr. McKelvey did not examine a single witness, rarely

was able to answer questions posed by the court regarding the case,
and allowed numerous rules violations to occur before the court,
apparently without counsel to Mr. Haysbert. In addition, Mr.
Haysbert referred to himself as “lead counsel,” he sat in the lead
counsel chair at the counsel table for Plaintiff, and he conducted
the trial before the jury. His sudden absence from the trial would
inevitably cause much speculation among members of the jury, which
was also a major concern to the court. Such speculation is not
appropriate in a jury trial.
Cc.

Although the court constantly endeavored to keep this case on
track and made multiple attempts to diligently control it, even
before trial began, the court is of the opinion that this case has
become so infected that a fair trial cannot proceed. It is the
cumulation of problems, explained both on the record and reiterated
in this Opinion, that has thwarted fairness for all those involved,
such that no curative instructions could overcome the prejudice
that exists. Succinctly put, the court is of the opinion that the
process of trial has been abused and a fair trial in the presence

of this jury could not go forward at this juncture.!8 Therefore,

18 The jury returned at 11:00 A.M. on Tuesday, August 15,
2023, and was dismissed in open court on the record. See
ECF No. 313.

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the court had no choice but to GRANT Defendants’ Motion for
Mistrial.}9
IV. CONCLUSION
The Motion to Quash is GRANTED, the Motion to Revoke Mr.

Haysbert’s Pro Hac Vice Status is GRANTED, and the Motion for

Mistrial is GRANTED. Mr. McKelvey remains in the trial as counsel
of record.29 Plaintiff has twenty-one (21) days from the entry of
this Opinion to notify the court if a new trial date should be
set.?2!

The court further DIRECTS that any new trial be reassigned to

another judge of this court with a new jury.?* Moreover, the newly

19 The court notes that when the Motion for Mistrial was
granted on August 14, 2023, Plaintiff had not yet rested her case,
and Defendants had not put on their defense, even though the
proceedings were in the fifth day.

20 Mr. McKelvey is on notice from the court that as counsel
of record and/or local counsel, if a new trial goes forward, he is
responsible for being prepared for all incidents of the proceeding
as is required of a member of the bar of this court. Although Mr.
McKelvey has indicated he is prepared to go forward with trial, he
also indicated he would need some time to get “fully up to speed”
[paraphrased by the court], and his participation at the first
trial, as shown on the record and as addressed herein, also
demonstrates just that. The court further notes that, other than
his lack of preparedness in his role as local counsel in this case,
the court knows of no deficit in his ability to perform in cases
as a member of this court’s bar. See infra note 21 and accompanying
text.

21 If no notice is provided by Plaintiff through her counsel,
then the case will be closed on the court’s docket.

22 See supra note 21 and accompanying text.

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assigned judge will be able to determine any outstanding
evidentiary issues, including those related to the admissibility
of Dr. Filler’s testimony and the work orders, as well as any pro
hac vice motion(s), if they are made.

The court further DIRECTS the Clerk to send a copy of this
Opinion to counsel for the parties and to Mr. Haysbert.

IT IS SO ORDERED.

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REBECCA BEACH SMITH
SENIOR UNITED STATES DISTRICT JUDGE

August ao , 2023

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